          Case 3:21-cr-00077-FAB Document 51 Filed 07/30/21 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                         Criminal no. 21-077 (FAB)
   Plaintiff,
                v.

 ALAN CORDERO VELAZQUEZ (2)
   Defendant.

                                        INFORMATIVE MOTION

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Alan Cordero Velázquez, and respectfully states and prays

as follows:

       Mr. Alan Cordero Velázquez’s Change of Plea hearing is scheduled for Tuesday August 3,

2021 at 10:00 am. The undersigned informs that he has completed the mandated survey regarding

the names and vaccination status of the attendees to the scheduled hearing. Nevertheless, we

inform that Mr. Cordero Velázquez is not vaccinated.           but that his mother, who will be

accompanying him to Court, is.

       WHEREFORE, Mr. Alan Cordero Velázquez respectfully requests that the Court take

notice of the content of this motion.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 30th day of July 2020.

       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.

                                        s/ Diego H. Alcalá Laboy
                                         Diego H. Alcalá Laboy
                                             P.O. Box 12247
Case 3:21-cr-00077-FAB Document 51 Filed 07/30/21 Page 2 of 2




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